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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )               Case No. 2:12-cr-00400-JAD-GWF
                                               )
 9   vs.                                       )               ORDER
                                               )
10   ASHLEE MARTIN, et al.,                    )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Ashlee Martin’s Motion to Modify Conditions
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     of Release (#248), filed July 3, 2014. The motion is not opposed by either the Government or
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     Pretrial Services. Accordingly,
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            IT IS HEREBY ORDERED that Defendant Ashlee Martin’s Motion to Modify
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     Conditions of Release (#248) is granted. Ms. Martin is permitted to travel from Las Vegas,
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     Nevada to Utah for a family reunion from July 11-13, 2014. All other conditions remain in force
18
     and effect.
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            DATED: July 9, 2014.
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                                                 ______________________________________
22                                               C.W. Hoffman, Jr.
                                                 United States Magistrate Judge
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